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UNITED sTA TES DISTRICT Co UR T q H
WESTERN DISTRICT OF TENNESSEE d "3 »’$!~; 9_. ,,

 

 

EASTERN DIVISION
TORRI WILL]AMS, JUI)GMENT IN A CIVIL CASEl n
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: ]:02-1205-B

oF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

A ROVED:

 

THOMA`S M. GOuLD

Clerk of Court

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(By) Deputy Clerk

 

This documem entered on the docket sheet' in compiiance

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This notice confirms a copy ofthc document docketed as number 131 in
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